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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Case No. 1:21-cr-292-RCL

V.

CHRISTOPHER JOHN WORRELL,
Defendant.

ORDER

The Court today held a hearing on the defendant’s Emergency Motion [47] for

Reconsideration. In light of that hearing and the government’s representation that the defendant

will be examined by an oncologist on May 19, the government is ORDERED to file a

supplemental brief by May 20 update the Court on the defendant’s medical condition and

treatment. The defendant may file a reply to that brief by May 21.

IT IS SO ORDERED.

< Cc Fol th /
Date: Hef [a1 Royce C. Lamberth

United States District Judge
